Case 22-00969-JJG-13            Doc 27        Filed 05/03/22          EOD 05/03/22 14:43:34            Pg 1 of 1



                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  IN RE:                                                  )
                                                          )
  DENNIS LEE STONER,                                      ) CASE NO. 22-00969-JJG-13
                                                          )
  DEBTOR.                                                 )

                                       TRUSTEE’S REPORT TO COURT
     John M. Hauber, your trustee herein, having conducted the meeting of creditors is unable to recommend
  plan confirmation because:

  ____Objection to plan by creditor:

   ____Need ruling on Lift Motion filed by:

  ____Trustee is filing separate objection needing ruling by Court

  ____Trustee requests a confirmation hearing be set due to plan not being distributed to creditors prior to
        #341 meeting.

  __X__Other: Debtors filed an amended plan on April 29, 2022--- The trustee to review and will report
  further prior to the objection deadline.

  Based upon the above report, your trustee advises the Court that:

  ____An amendment will be filed within 30 days from the #341 hearing and will consist of amended plan
  Circulate to all parties of record.

  ____Debtor will file a motion to within days from #341

  _X_ Debtor attempting to settle objections with trustee or creditors; hold further action
       until trustee advises within 30 days

  ____Set:    ____Confirmation Hearing         _____Other:

  ____Please set above:       ___As soon as a date is available;
                              ___Only after the claims bar date has run;
                              ___Other:

  ____Please send additional notice to:

                                                         Respectfully submitted,

  DATE: May 3, 2022                                      /s/ John M. Hauber _____
                                                         John M. Hauber, Trustee
                                                         320 N. Meridian Street STE 200
                                                         Indianapolis, IN 46204
                                                         (317) 636-1062; (317) 636-1186 fax

  DISTRIBUTION: U.S. TRUSTEE; CHAPTER 13 TRUSTEE (Hauber)
